Case 3:03-cr-00209-FDW-DCK   Document 105   Filed 07/01/05   Page 1 of 6
Case 3:03-cr-00209-FDW-DCK   Document 105   Filed 07/01/05   Page 2 of 6
Case 3:03-cr-00209-FDW-DCK   Document 105   Filed 07/01/05   Page 3 of 6
Case 3:03-cr-00209-FDW-DCK   Document 105   Filed 07/01/05   Page 4 of 6
Case 3:03-cr-00209-FDW-DCK   Document 105   Filed 07/01/05   Page 5 of 6
Case 3:03-cr-00209-FDW-DCK   Document 105   Filed 07/01/05   Page 6 of 6
